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UNITED STATES DISTRICT COURT                                              V)(' :1                                            I
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                                                                       II
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------------)(
DEMOCRATIC NATIONAL COMMITTEE,
                   Plaintiff,                                                   18 CIVIL 3501 (JGK)

                  -against-                                                         JUDGMENT

THE RUSSIAN FEDERATION et al.,
                     Defendants.
-----------------------------------------------------------)(

         It is hereby   ORDERED, ADJUDGED AND DECREED: That for the reasons

stated in the Court's Memorandum Opinion and Order dated July 30, 2019, the Court has

considered all of the arguments raised by the parties. To the extent not specifically addressed, the

arguments are either moot or without merit. The DNC's Second Amended Complaint is

dismissed with prejudice and the Campaign's motion for sanctions under Rule 11 is denied;

accordingly, the case is closed.

Dated: New York, New York
       July 31, 2019



                                                                           RUBY J. KRAJICK

                                                                                Clerk of Court
                                                                BY:
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                  United States District Court
                  Southern District of New York



Ruby J. Krajick
Clerk of Court

Dear Litigant:

Enclosed is a copy of the judgment entered in your case. If you disagree with a judgment or
final order of the district court, you may appeal to the United States Court of Appeals for
the Second Circuit. To start this process, file a “Notice of Appeal” with this Court’s Pro Se
Intake Unit.

You must file your notice of appeal in this Court within 30 days after the judgment or order
that you wish to appeal is entered on the Court’s docket, or, if the United States or its officer
or agency is a party, within 60 days after entry of the judgment or order. If you are unable
to file your notice of appeal within the required time, you may make a motion for extension
of time, but you must do so within 60 days from the date of entry of the judgment, or
within 90 days if the United States or its officer or agency is a party, and you must show
excusable neglect or good cause for your inability to file the notice of appeal by the
deadline.

Please note that the notice of appeal is a one-page document containing your name, a
description of the final order or judgment (or part thereof) being appealed, and the name of
the court to which the appeal is taken (the Second Circuit) – it does not include your reasons
or grounds for the appeal. Once your appeal is processed by the district court, your notice
of appeal will be sent to the Court of Appeals and a Court of Appeals docket number will
be assigned to your case. At that point, all further questions regarding your appeal must be
directed to that court.

The filing fee for a notice of appeal is $505 payable in cash, by bank check, certified check,
or money order, to “Clerk of Court, S.D.N.Y.” No personal checks are accepted. If you are
unable to pay the $505 filing fee, complete the “Motion to Proceed in Forma Pauperis on
Appeal” form and submit it with your notice of appeal to the Pro Se Intake Unit. If the
district court denies your motion to proceed in forma pauperis on appeal, or has certified
under 28 U.S.C. ' 1915(a)(3) that an appeal would not be taken in good faith, you may file a
motion in the Court of Appeals for leave to appeal in forma pauperis, but you must do so
within 30 days after service of the district court order that stated that you could not proceed
in forma pauperis on appeal.

For additional issues regarding the time for filing a notice of appeal, see Federal Rule of
Appellate Procedure 4(a). There are many other steps to beginning and proceeding with
your appeal, but they are governed by the rules of the Second Circuit Court of Appeals and
the Federal Rules of Appellate Procedure. For more information, visit the Second Circuit
Court of Appeals website at http://www.ca2.uscourts.gov/.

        THE DANIEL PATRICK MOYNIHAN                     THE CHARLES L. BRIEANT, JR.
         UNITED STATES COURTHOUSE                        UNITED STATES COURTHOUSE
              500 PEARL STREET                             300 QUARROPAS STREET
          NEW YORK, NY 10007-1312                       WHITE PLAINS, NY 10601-4150
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                               S OUTHERN D ISTRICT OF N EW Y ORK



(List the full name(s) of the plaintiff(s)/petitioner(s).)                                 _____CV________ (            )(        )
                                  -against-
                                                                                           NOTICE OF APPEAL




(List the full name(s) of the defendant(s)/respondent(s).)



Notice is hereby given that the following parties:


(list the names of all parties who are filing an appeal)


in the above-named case appeal to the United States Court of Appeals for the Second Circuit

from the             judgment             order            entered on:
                                                                               (date that judgment or order was entered on docket)
that:



(If the appeal is from an order, provide a brief description above of the decision in the order.)



                                                                                       *
    Dated                                                                  Signature



    Name (Last, First, MI)



    Address                                       City                     State                           Zip Code



    Telephone Number                                                       E-mail Address (if available)




*
 Each party filing the appeal must date and sign the Notice of Appeal and provide his or her mailing address and telephone
number, EXCEPT that a signer of a pro se notice of appeal may sign for his or her spouse and minor children if they are parties
to the case. Fed. R. App. P. 3(c)(2). Attach additional sheets of paper as necessary.
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                                                                                 _____CV________ (                   )(   )
(List the full name(s) of the plaintiff(s)/petitioner(s).)

                                 -against-                                       MOTION FOR EXTENSION
                                                                                 OF TIME TO FILE NOTICE
                                                                                 OF APPEAL


(List the full name(s) of the defendant(s)/respondent(s).)




I move under Rule 4(a)(5) of the Federal Rules of Appellate Procedure for an extension of time

to file a notice of appeal in this action. I would like to appeal the judgment

entered in this action on                                but did not file a notice of appeal within the required
                                           date
time period because:




(Explain here the excusable neglect or good cause that led to your failure to file a timely notice of appeal.)




Dated:                                                                  Signature



Name (Last, First, MI)



Address                                           City                  State                             Zip Code



Telephone Number                                                        E-mail Address (if available)




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                               S OUTHERN D ISTRICT OF N EW Y ORK



                                                                         _____CV_________ (             )(   )
(List the full name(s) of the plaintiff(s)/petitioner(s).)

                                   -against-                             MOTION FOR LEAVE TO
                                                                         PROCEED IN FORMA
                                                                         PAUPERIS ON APPEAL


(List the full name(s) of the defendant(s)/respondent(s).)



I move under Federal Rule of Appellate Procedure 24(a)(1) for leave to proceed in forma

pauperis on appeal. This motion is supported by the attached affidavit.




Dated                                                        Signature



Name (Last, First, MI)



Address                                           City       State                           Zip Code



Telephone Number                                             E-mail Address (if available)




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                        Application to Appeal In Forma Pauperis



______________________v. ______________________              Appeal No. __________________

                                                             District Court or Agency No. _________________


Affidavit in Support of Motion                          Instructions

I swear or affirm under penalty of perjury that,        Complete all questions in this application and then
because of my poverty, I cannot prepay the docket       sign it. Do not leave any blanks: if the answer to a
fees of my appeal or post a bond for them. I believe    question is "0," "none," or "not applicable (N/A),"
I am entitled to redress. I swear or affirm under       write that response. If you need more space to answer
penalty of perjury under United States laws that my     a question or to explain your answer, attach a separate
answers on this form are true and correct. (28          sheet of paper identified with your name, your case's
U.S.C. § 1746; 18 U.S.C. § 1621.)                       docket number, and the question number.


  Signed: _____________________________                  Date: _____________________________


My issues on appeal are: (required):




1.      For both you and your spouse estimate the average amount of money received from each
        of the following sources during the past 12 months. Adjust any amount that was received
        weekly, biweekly, quarterly, semiannually, or annually to show the monthly rate. Use
        gross amounts, that is, amounts before any deductions for taxes or otherwise.

 Income source                              Average monthly                 Amount expected next
                                            amount during the past          month
                                            12 months
                                            You              Spouse         You              Spouse
 Employment                                 $                $              $                $
 Self-employment                            $                $              $                $
 Income from real property (such as         $                $              $                $
 rental income)


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 Interest and dividends                   $              $             $                  $
 Gifts                                    $              $             $                  $
 Alimony                                  $              $             $                  $
 Child support                            $              $             $                  $
 Retirement (such as social security,     $              $             $                  $
 pensions, annuities, insurance)
 Disability (such as social security,     $              $             $                  $
 insurance payments)
 Unemployment payments                    $              $             $                  $
 Public-assistance (such as welfare)      $              $             $                  $
 Other (specify):                         $              $             $                  $


     Total monthly income:                $0             $0            $0                 $0



2.       List your employment history for the past two years, most recent employer first. (Gross
         monthly pay is before taxes or other deductions.)

 Employer                   Address                           Dates of            Gross
                                                              employment          monthly pay
                                                                                  $
                                                                                  $
                                                                                  $

3.       List your spouse's employment history for the past two years, most recent employer first.
         (Gross monthly pay is before taxes or other deductions.)

 Employer                   Address                           Dates of                Gross
                                                              employment              monthly pay
                                                                                      $
                                                                                      $
                                                                                      $



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4.     How much cash do you and your spouse have? $________

       Below, state any money you or your spouse have in bank accounts or in any other
       financial institution.

 Financial Institution        Type of Account         Amount you have        Amount your
                                                                             spouse has
                                                      $                      $
                                                      $                      $
                                                      $                      $

If you are a prisoner seeking to appeal a judgment in a civil action or proceeding, you must
attach a statement certified by the appropriate institutional officer showing all receipts,
expenditures, and balances during the last six months in your institutional accounts. If you
have multiple accounts, perhaps because you have been in multiple institutions, attach one
certified statement of each account.


5.     List the assets, and their values, which you own or your spouse owns. Do not list clothing
       and ordinary household furnishings.

 Home                           Other real estate               Motor vehicle #1
 (Value) $                      (Value) $                       (Value) $
                                                                Make and year:
                                                                Model:
                                                                Registration #:


 Motor vehicle #2               Other assets                    Other assets
 (Value) $                      (Value) $                       (Value) $
 Make and year:
 Model:
 Registration #:




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6.      State every person, business, or organization owing you or your spouse money, and the
        amount owed.

 Person owing you or your spouse         Amount owed to you               Amount owed to your
 money                                                                    spouse
                                         $                                $
                                         $                                $
                                         $                                $
                                         $                                $


7.      State the persons who rely on you or your spouse for support.

 Name [or, if a minor (i.e., underage), initials only]      Relationship                  Age




8.      Estimate the average monthly expenses of you and your family. Show separately the
        amounts paid by your spouse. Adjust any payments that are made weekly, biweekly,
        quarterly, semiannually, or annually to show the monthly rate.

                                                                      You           Your Spouse
 Rent or home-mortgage payment (including lot rented for              $             $
 mobile home)
        Are real estate taxes included?    [ ] Yes [ ] No
        Is property insurance included?    [ ] Yes [ ] No
 Utilities (electricity, heating fuel, water, sewer, and telephone)   $             $
 Home maintenance (repairs and upkeep)                                $             $
 Food                                                                 $             $
 Clothing                                                             $             $
 Laundry and dry-cleaning                                             $             $
 Medical and dental expenses                                          $             $


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 Transportation (not including motor vehicle payments)             $          $
 Recreation, entertainment, newspapers, magazines, etc.            $          $
 Insurance (not deducted from wages or included in mortgage payments)
       Homeowner's or renter's:                                    $          $
       Life:                                                       $          $
       Health:                                                     $          $
       Motor vehicle:                                              $          $
       Other:                                                      $          $
 Taxes (not deducted from wages or included in mortgage            $          $
 payments) (specify):
 Installment payments
       Motor Vehicle:                                              $          $
       Credit card (name):                                         $          $
       Department store (name):                                    $          $
       Other:                                                      $          $
 Alimony, maintenance, and support paid to others                  $          $
 Regular expenses for operation of business, profession, or        $          $
 farm (attach detailed statement)
 Other (specify):                                                  $          $
        Total monthly expenses:                                    $0         $0


9.     Do you expect any major changes to your monthly income or expenses or in your assets
       or liabilities during the next 12 months?

       [ ] Yes        [ ] No         If yes, describe on an attached sheet.


10.    Have you spent — or will you be spending —any money for expenses or attorney fees in
       connection with this lawsuit? [ ] Yes [ ] No

       If yes, how much? $ ____________




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11.   Provide any other information that will help explain why you cannot pay the docket fees
      for your appeal.




12.   Identify the city and state of your legal residence.

      City __________________________          State ______________

      Your daytime phone number: ___________________

      Your age: ________ Your years of schooling: ________

      Last four digits of your social-security number: _______




                        Print               Save             Reset Form




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